                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      at CHATTANOOGA



 UNITED STATES OF AMERICA                             )
                                                      )
 v.                                                   )           1:06-cr-69
                                                      )           Collier/Lee
 RODNEY BATES                                         )


                               REPORT AND RECOMMENDATION


 I.      Introduction


         Defendant Rodney Bates (“Defendant”) filed a motion to suppress evidence obtained through

 intercepts authorized by two electronic surveillance orders issued by this Court, one on September

 6, 2005 and the second on October 6, 2005 [Doc. 249]. Defendant argues the affidavit used to obtain

 the first electronic surveillance order did not set forth probable cause and did not meet the

 requirements of 18 U.S.C. § 2510 et. seq. because it contained false information. Defendant argues

 that, as a result of including the false information, all evidence obtained pursuant to the first

 electronic surveillance order must be suppressed and that all information gained from the second

 surveillance order must also be suppressed as it allegedly is the illegal “fruit” of the first surveillance

 order. The United States filed a response in opposition to the motion to suppress [Doc. 251]. The

 parties’ pleadings have been carefully reviewed and fully considered.

         Defendant’s motion has been referred for a report and recommendation pursuant to 28 U.S.C.


                                                     1


Case 1:06-cr-00069-TRM-SKL              Document 259         Filed 03/06/08       Page 1 of 9       PageID
                                              #: 298
 § 636(b)(1)(B) and (C) [Doc. 250]. In summary, I find no constitutional violation with respect to

 the electronic surveillance (sometimes referred to as “wiretaps”). Thus, for the reasons set forth

 herein, I RECOMMEND that Defendant’s motion [Doc. 249] be DENIED.

 II.    Facts

        The facts are not disputed. The parties have agreed the United States provided discovery

 materials with the following notice:

                        The investigation which led to the indictment in this case
                included the interception of cell phone communication between
                various persons named and unnamed in the indictment. You have
                been provided with the affidavits, applications and orders for the
                intercepts, as well as a CD copy of all of the intercepts. Information
                from various sources was contained in the affidavit filed in support
                of the application for electronic surveillance. One of the sources was
                identified in the affidavit as “CS 4.” After the affidavit was
                submitted, and after the interception of wire communications had
                ceased, law enforcement agents learned that CS 4 had provided them
                some false information.

                        On two separate occasions, August 18 and September 6, 2005,
                the person who is identified as CS 4 in the first wiretap affidavit,
                claimed to have received cocaine from Rodney Bates. Lab testing,
                the results of which the agents were unaware during the
                administration of the wiretaps, indicate that the substances from these
                instances were not cocaine or any other controlled substance. The
                affidavit referenced the August 18 event as a purchase of cocaine.
                We now know this to be inaccurate. The affidavit went on to explain
                that during this event, the agents had difficulty discerning the
                conversation upon reviewing the tape. The September 6 transaction
                was not included in the affidavit.

 [Doc. 251 at 2-3].

        The affidavit of Special Agent Robert Chester of the Drug Enforcement Administration

 (“Chester”) supports the first wiretap application [Doc. 254] and resulting electronic surveillance

 order authorizing the wiretap [Doc. 257]. As relevant, Chester’s affidavit references information


                                                  2


Case 1:06-cr-00069-TRM-SKL           Document 259         Filed 03/06/08      Page 2 of 9    PageID
                                           #: 299
 from several Confidential Sources (“CS” if singular or “CSs” if multiple). Chester’s affidavit states

 certain cocaine transactions on August 18, 2005 [Doc. 254 at 33-34] and May 9, 2005 [Doc. 254 at

 30-31] involved CS 4 and others, allegedly including Defendant. It is undisputed CS 4 provided

 false information regarding Defendant to agents. The United States admits it now believes CS 4 did

 not obtain cocaine, or purported cocaine, from Defendant on either May 9 or August 18 as

 referenced in Chester’s affidavit. The United States has confirmed CS 4 will not be called as a

 government witness in this matter, and asserts its agents, including Chester, had no knowledge the

 information provided by CS 4 was false at the time the wiretaps orders were administered.

 III.   Analysis

        At issue is whether Chester’s affidavit demonstrates probable cause for the issuance of the

 first wiretap order for the Defendant’s cellular telephone number (423) 355-1063 (“Defendant’s

 phone”).1

        A.      The Parties’ Positions

        Defendant argues a probable cause analysis must be conducted after excluding the admittedly

 false information from Chester’s affidavit, and that there is insufficient probable cause set forth in

 Chester’s affidavit--upon excluding the false information provided by CS 4--for the issuance of the

 first wiretap on Defendant’s phone. Defendant contends that after excluding the information


        1
           The parties agreed in a telephonic conference held February 20, 2008 that if the Court
 suppressed evidence resulting from the first electronic surveillance order for the reasons set forth
 in Defendant’s motion, the evidence resulting from the second electronic surveillance order would
 be suppressed under the “fruit of the poisonous tree” doctrine. Correspondingly, if evidence
 resulting from the first electronic surveillance order is not suppressed, then there is no basis for
 suppressing evidence obtained as a result of the second electronic surveillance order. Thus, this
 report and recommendation will focus on the affidavit submitted in support of the first electronic
 surveillance order as it is determinative of the motion to suppress and the parties have not sought
 to place the second affidavit or electronic surveillance order in the record.

                                                   3


Case 1:06-cr-00069-TRM-SKL            Document 259        Filed 03/06/08       Page 3 of 9      PageID
                                            #: 300
 provided by CS 4, the remaining, allegedly stale information provided by the other CSs did not

 provide probable cause for the issuing judge to find incriminating conversations would be

 intercepted from Defendant’s phone. Defendant does not contend any misrepresentations in the

 affidavit were knowingly or intentionally made by the affiant [Doc. 249-2 at 3]. Defendant agrees

 a hearing is neither requested nor required pursuant to Franks v. Delaware, 438 U.S. 154, 155-57

 (1978) [id.].

         The United States counters that while the affidavit contained false information unbeknownst

 to Chester, it still supports a finding of probable cause as determined by the issuing judge and there

 is no basis for excising the false information for the purpose of a probable cause review under the

 circumstances [Doc. 251 at 4]. The United States also argues even if the admittedly false

 information is excised, the affidavit contains sufficient information--that is not stale--to support

 probable cause [id.].

         B.      Legal Standards

         The parties agree the applicable standards for the issuance of an electronic surveillance

 order, as set forth by the United States Court of Appeals for the Sixth Circuit (“Sixth Circuit”), are

 “similar to those for a search warrant, but there also must be strict compliance with Title III of the

 Omnibus Crime Control and Safe Streets Act of 1968, 18 U.S.C. §§ 2510-2520.” United States v.

 Alfano, 838 F.2d 158, 161-62 (6th Cir. ), cert. denied, 488 U.S. 821 (1988). In Alfano, the Sixth

 Circuit set forth the general standard for determining probable cause under Title III:

                 [T]here is no specific formula that must be met for a warrant, and []
                 evidence must be judged on the totality of the circumstances and in
                 a reasonable and common sense manner. Illinois v. Gates, 462 U.S.
                 213, 238 (1983). Under this standard, the question that must be
                 decided in issuing a warrant is whether there is probable cause to
                 believe that evidence of a crime will be uncovered.

                                                   4


Case 1:06-cr-00069-TRM-SKL            Document 259        Filed 03/06/08       Page 4 of 9      PageID
                                            #: 301
 838 F.2d at 161-62. Thus, probable cause is present for the issuance of a wiretap order if the totality

 of the circumstances reveals that there is a fair probability that a wiretap will uncover evidence of

 a crime. Id.; United States v. Giacalone, 853 F.2d 470, 478 (6th Cir.), cert. denied, 488 U.S. 910

 (1988); United States v. LaPuma, No. 88-2237, 1989 WL 125242 * 2 (6th Cir. Oct. 23, 1989).

 Generally, the validity of an electronic surveillance order is reviewed with great deference to the

 determinations of the issuing judge. United States v. Corrado, 227 F.3d 528, 539 (6th Cir.2000).

        As the Supreme Court explained, the remedy for a violation of Title III is that no part of the

 contents of any wire communication, and no evidence derived therefrom, may be received at certain

 proceedings, including trials, “if the disclosure of that information would be in violation of this

 chapter.” United States v. Giordano, 416 U.S. 505, 524 (1974) (quoting 18 U.S.C. § 2515).

 Disclosures that are forbidden, and subject to a motion to suppress, are governed by § 2518(10)(a),

 which provides for suppression of evidence if the order of authorization or approval under which

 it was intercepted is insufficient on its face. Id. at 524-25. Where suppression is the appropriate

 remedy for a violation under Title III, the fruits of any evidence obtained through that warrant must

 be suppressed. U.S. v. Rice, 478 F.3d 704, 710 (6th Cir. 2007).

        C.      Franks

        The sufficiency of a previously issued and executed electronic surveillance order is analyzed

 under the procedures outlined in Franks v. Delaware, 438 U.S. 154 (1978), including the procedure

 commonly referred to as a Franks hearing. United States v. Stewart, 306 F.3d 295, 304-06 (6th Cir.

 2002). In order to be entitled to a Franks hearing, a defendant must make a dual showing. First, the

 defendant must make a substantial preliminary showing that a false statement knowingly and

 intentionally, or with reckless disregard for the truth, was included by the affiant in the affidavit


                                                   5


Case 1:06-cr-00069-TRM-SKL            Document 259         Filed 03/06/08      Page 5 of 9       PageID
                                            #: 302
 supporting the wiretap application. Franks, 438 U.S. at 155-56. Second, the offending information

 must be necessary to the finding of probable cause. Id. If the offending information is excluded and

 probable cause still remains, a Franks hearing is not required. Id.

        The United States Court of Appeals for the Sixth Circuit has elaborated upon the Franks

 standard as follows:

                A defendant who challenges the veracity of statements made in an
                affidavit that form the basis for a warrant has a heavy burden. His
                allegations must be more than conclusory. He must point to specific
                false statements that he claims were made intentionally or with
                reckless disregard for the truth. He must accompany his allegations
                with an offer of proof. Moreover, he should also provide supporting
                affidavits or explain their absence. If he meets these requirements,
                then the question becomes whether, absent the challenged statements,
                there remains sufficient content in the affidavit to support a finding
                of probable cause.

 United States v. Bennett, 905 F.2d 931, 934 (6th Cir. 1990) (citations omitted).

        Under Franks, only if a defendant shows the affiant knowingly and intentionally, or with

 reckless disregard for the truth, included a false statement in his affidavit, is the false material set

 aside and the affidavit reviewed on the basis of the remaining content for sufficiency. See Franks,

 438 U.S. at 155-56. Allegations of negligence or innocent mistake are insufficient to show

 deliberate falsity of reckless disregard. Id. at 171 (affiant himself, not non-governmental informant,

 must have intentionally or recklessly made false statements); United States v. Ayen, 997 F.2d 1150,

 1152 (6th Cir. 1993) (same); United States v. Rodriguez-Suazo, 346 F.3d 637, 648 (6th Cir. 2003)

 (same); Giacalone, 853 F.2d at 477 (“Under Franks, suppression is required only when the affiant

 deliberately lied or testified in reckless disregard of the truth.”); United States v. Moran,

 349 F. Supp. 2d 425, 455 (N.D.N.Y. 2005) (a defendant is entitled to a Franks hearing only when

 he meets preliminary burden by challenging the truthfulness of statements made by the affiant, not


                                                    6


Case 1:06-cr-00069-TRM-SKL            Document 259         Filed 03/06/08       Page 6 of 9      PageID
                                            #: 303
 the truthfulness of a non-governmental informant). “[I]f the warrant affiant had no reason to believe

 the information was false, there was no violation of the Fourth Amendment.” Franks at 172 n. 8.

 See also Rice, 478 F.3d 711.2

        D.      Application

        In short, in order to be entitled to a Franks hearing in the instant case, the Defendant must

 make a substantial preliminary showing that Chester, rather than CS 4, deliberately or recklessly

 included false information in the affidavit. As acknowledged by Defendant, the first prong for a

 Franks hearing is not met because he does not contend Chester deliberately or recklessly included

 false information in his affidavit. In attacking the first wiretap order, the Defendant relies heavily

 on CS 4's dishonest and deceptive conduct in the course of making a controlled purchase of narcotics

 and providing false information about Defendant, which was included in the affidavit supporting the

 wiretap. While such misconduct could well form a basis to challenge the reliability of CS 4 if he

 were to testify, Defendant has not argued Chester or the issuing judge were reckless in not

 questioning the reliability of CS 4 with respect to the wiretap.

        As Defendant admits he cannot show any deliberate or reckless misrepresentations by

 Chester [Doc. 249-2 at 3], he has not articulated a basis for suppression. Franks, 438 U.S. at 171;

 Ayen, 997 F.2d at 1152; Rodriguez-Suazo, 346 F.3d at 648; Giacalone, 853 F.2d at 477. Likewise,

 Defendant has submitted no authority, and none has been located, that supports his argument that

 the false information provided by CS 4 should be excised from the affidavit for purposes of a

 probable cause determination in the absence of knowledge or reckless disregard on the part of




        2
           The Sixth Circuit recently held that the Leon good faith exception does not apply to
 warrants improperly issued under Title III. Rice, 478 F.3d 704.

                                                   7


Case 1:06-cr-00069-TRM-SKL            Document 259        Filed 03/06/08       Page 7 of 9      PageID
                                            #: 304
 Chester.3 As no valid basis for the excise of the false information has been asserted, it is not

 necessary to address whether the affidavit contains sufficient, non-stale information to support the

 wiretap order when the false information is excised.

        Defendant has not contended Chester’s affidavit contains insufficient probable cause for the

 wiretap or is stale when the false information is included--as it was when the wiretap order was

 issued. Under these circumstances, and upon a review of the ample information supporting probable

 cause in the unredacted affidavit, I FIND there was more than a fair probability evidence of a crime,

 namely drug distribution and a conspiracy to distribute drugs, would be uncovered by the monitoring

 of Defendant’s phone and that the requirements of Title III were met. Thus, given the “totality of

 the circumstances,” probable cause was established in Chester’s affidavit when viewed in its entirety

 for the first wiretap and no basis has been shown for suppression of information gathered as a result

 of either the first or second electronic surveillance orders.




        3
           While a Franks hearing may, in rare instances, be required upon a showing of information
 omitted from the affidavit, see, e.g., United States v. Bonds, 12 F.3d 540, 568-69 (6th Cir. 1993),
 in Mays v. City of Dayton, 134 F.3d 809, 816 (6th Cir. 1998), the Sixth Circuit reiterated that, except
 in the very rare case where information critical to the finding of probable cause was excluded with
 the intention to mislead, “Franks is inapplicable to the omission of disputed facts.” Moreover, the
 due process protections accorded to a defendant under Brady v. Maryland, which require pretrial
 disclosure of potentially exculpatory evidence, is inapposite to the warrant application process. Id.
 at 815-16. In the case at bar, there is no allegation that information was excluded with the intention
 to mislead.

                                                   8


Case 1:06-cr-00069-TRM-SKL            Document 259         Filed 03/06/08      Page 8 of 9      PageID
                                            #: 305
 IV.    Conclusion

        For the reasons stated herein, I RECOMMEND that Defendant’s motion to suppress [Doc.

 249] be DENIED.4



                                               s/Susan K. Lee
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE




        4
           Any objections to this report and recommendation must be served and filed within ten (10)
 days after service of a copy of this recommended disposition on the objecting party. Such objections
 must conform to the requirements of Rule 72(b) of the Federal Rules of Civil Procedure. Failure
 to file objections within the time specified waives the right to appeal the district court’s order.
 Thomas v. Arn, 474 U.S. 140, 149 n.7 (1985). The district court need not provide de novo review
 where objections to this report and recommendation are frivolous, conclusive and general. Mira v.
 Marshall, 806 F.2d 636, 637 (6th Cir. 1986). Only specific objections are reserved for appellate
 review. Smith v. Detroit Fed'n of Teachers, 829 F.2d 1370, 1373 (6th Cir. 1987).

                                                  9


Case 1:06-cr-00069-TRM-SKL           Document 259        Filed 03/06/08      Page 9 of 9      PageID
                                           #: 306
